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UN|TED STATES D|STR|CT COURT i"`if-i.

Western District of Tennessee GSWR 26 H|____… di

UN|TED STATES OF AMER|CA %?§§§’1=;1`3 L"B; ' 1119
Plaintitf, w.f§'. oi= TN, wihw.P:-tis
VS. Case Number: 2:94CR20276-B

SHEFtEE N|C KlNLEY
Defendant.

JUDG|V|ENT AND CON|IV||TIV|ENT ORDER

ON SUPERV|SED RELEASE VlOLATlON
(For 0ffenses Committed On or After November 1, 1987)

The defendant, Sheree l\/chinley, was represented by Apri| Goode, Esq.

lt appearing that the defendant, who was convicted on l\/larch 8, 1996 in the above styled cause
and was placed on Supervised Re|ease for a period of two (2) years and has violated the terms of
Supervised Re|ease.

|t is hereby OFlDEFtED and ADJUDGED that the Supervised Fte|ease of the defendant be revoked
and that the defendant be committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of twelve (12) months. The Court directs the Bureau of Prisons to defer
defendants report for sixty (60) days.

FURTHER|V|ORE, no furtherterm of Supervised Re|ease will follow said period of incarcerationl

The defendant is allowed to remain released on present bond.

QL
Signed this the ;l=» day 0f Apri|, 2005.

/

J. o NiEi_ BFiEEN \
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Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 1/15/1967

U.S. Marshal No.: 14966-076

Defendant's Nlailind Address: 946 Crockett. l\/lemphis, TN 38107

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UNITED sTEATs DSTIRIC COURT - WESERN DISITRCT oFTE ESSEE

 
 
 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 205 in
case 2:94-CR-20276 Was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

 

 

Christopher E. Cotten

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April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

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Honorable J. Breen
US DISTRICT COURT

